         Case 1:21-cr-00537-JMC Document 199 Filed 09/26/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )       Criminal No. 1:21-cr-00537-JMC
                       v.                        )
                                                 )
 RYAN SAMSEL,                                    )
                                                 )
                 Defendant.                      )
                                                 )

    REPLY IN SUPPORT OF RENEWED MOTION FOR TEMPORARY RELEASE

       Defense counsel is not in a position to refute the government’s characterization of Mr.

Samsel’s refusal of medical treatment. Defense counsel would observe, however, that it is

undisputed that Mr. Samsel has not refused any medical treatment from the practitioners at any

private medical facility, including Jefferson Health in Philadelphia.

       The only medical treatment the government alleges Mr. Samsel refused was to be

provided by the Bureau of Prisons and/or the U.S. Marshal’s Service. While it is regrettable that

Mr. Samsel has lost faith in the BOP and/or the USMS to provide him with adequate medical

care, it should not at all be unexpected. After all, it was the contradictory medical assessments of

the Clinical Director of USP Lewisburg that led to Mr. Samsel’s transfer to – and prolonged

detention in solitary confinement at – FDC Philadelphia. Indeed, among the medical care the

government claims Mr. Samsel refused, was to have blood drawn, despite USP Lewisburg’s Dr.

Etinger previously advising, “He cannot have any venipunctures in his arm . . . .”). Supplement

to Def’s Mot. for Release, Exhibit A at ¶ 3 (April 26, 2022) (ECF No. 150)

       The government’s claim that any refusal of medical care by Mr. Samsel somehow lessens

the need for such care is a non sequitur. The Court ordered that Mr. Samsel obtain an

independent medical examination. That examination led to the recommendation that Mr. Samsel
           Case 1:21-cr-00537-JMC Document 199 Filed 09/26/22 Page 2 of 4




undergo surgery. 1 As government counsel has had direct contact with the medical providers

treating Mr. Samsel, they are well aware of the necessity of such treatment. 2 The simple fact of

the matter is that Mr. Samsel is asking the Court to allow him to obtain the treatment that an

independent medical examination deemed necessary from his own doctors.

         The Court can impose whatever conditions on Mr. Samsel’s release it deems necessary to

facilitate Mr. Samsel’s receipt of treatment from Dr. Liebman. If the U.S. Marshal’s Service

refuses to transport him for such treatment – a fact rendered ironic by the government’s own

disclosure that he is now affiliated with Jefferson Health, see Opp. Ex. 3 (Sep. 16, 2022) (ECF

No. 195), then Mr. Samsel will arrange for transportation to and from Dr. Liebman’s office, the

contact information for which can be provided to the U.S. Marshal’s Service and/or to the

Pretrial Services Office for the Eastern District of Pennsylvania. Mr. Samsel does not desire to

further waste this Court’s time squabbling with the government over what treatment it can

provide him – he simply desires to receive medical care – care he has long requested – from his

doctors.

                                      [SIGNATURE ON NEXT PAGE]




1
 The government apparently seeks to diminish the necessity of surgery by referring to the same as a mere “biopsy.”
A biopsy – “the examination of tissue removed from a living body to discover the presence, cause, or extent of
disease” – necessarily occurs after the surgery.
2
  The government’s direct involvement in Mr. Samsel’s medical care – speaking to the medical practitioners
rendering the care – is itself curious. But it is not at all clear why the government’s disclosure of Mr. Samsel’s
personal medical records is not a violation of The Health Insurance Portability and Accountability Act of 1996
(“HIPPAA”). Mr. Samsel, of course, is permitted to authorize the disclosure of his medical records. The
government, on the other hand, is not.
       Case 1:21-cr-00537-JMC Document 199 Filed 09/26/22 Page 3 of 4




Dated: September 26, 2022        Respectfully submitted,

                                        /s/ Stanley E. Woodward, Jr.
                                 Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                 BRAND WOODWARD, ATTORNEYS AT LAW
                                 1808 Park Road NW
                                 Washington, DC 20010
                                 202-996-7447 (telephone)
                                 202-996-0113 (facsimile)
                                 Stanley@BrandWoodwardLaw.com

                                 Counsel for Defendant Ryan Samsel
         Case 1:21-cr-00537-JMC Document 199 Filed 09/26/22 Page 4 of 4




                                 CERTIFICATE OF SERVICE

       On September 26, 2022, the undersigned hereby certifies that a true and correct copy of

the foregoing was electronically filed and served via the CM/ECF system, which will

automatically send electronic notification of such filing to all registered parties.

                                                      /s/ Stanley E. Woodward, Jr.
                                               Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                               BRAND WOODWARD LAW, LP
                                               1808 Park Road NW
                                               Washington, DC 20010
                                               202-996-7447 (telephone)
                                               202-996-0113 (facsimile)
                                               Stanley@BrandWoodwardLaw.com

                                               Counsel for Defendant Ryan Samsel
